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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

SYMBOLOGY INNOVATIONS, LLC          §
                                    §
      Plaintiff,                    §               Case No: 2:15-cv-01169-JRG-RSP
                                    §
vs.                                 §               LEAD CASE
                                    §
ADAMS EXTRACT                       §
                                    §
      Defendant.                    §
___________________________________ §
SYMBOLOGY INNOVATIONS, LLC          §
                                    §
      Plaintiff,                    §               Case No: 2:15-cv-01225-JRG-RSP
                                    §
vs.                                 §               CONSOLIDATED CASE
                                    §
BALLY TOTAL FITNESSS CORP.          §
                                    §
      Defendant.                    §
___________________________________ §


                    ORDER OF DISMISSAL OF DEFENDANT BALLY
                      TOTAL FITNESS CORP. WITH PREJUDICE

       On this day the Court considered the Unopposed Motion to Dismiss Defendant Bally
Total Fitness Corp. With Prejudice, in the lawsuit between Plaintiff Symbology Innovations,
LLC (“Symbology”) and Defendant Bally Total Fitness Corp. (“Bally”). Having considered the
Motion and the pleadings in this case, the Court is of the opinion that the Motion should be, and
is hereby, GRANTED.
       It is therefore ORDERED that all claims asserted by Symbology against Bally are hereby
DISMISSED WITH PREJUDICE, with each party to bear its own costs, expenses and attorneys’
fees. It is further ORDERED that the Court will retain jurisdiction to enforce the terms of the
Settlement Agreement between the parties.
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       SIGNED this 3rd day of January, 2012.
      SIGNED this 17th day of November, 2015.




                                               ____________________________________
                                               ROY S. PAYNE
                                               UNITED STATES MAGISTRATE JUDGE
